Case 7:21-cv-02777-VB Document 14 Filed 06/11/21 Page 1 of 6

ECEIVE p |
UNITED STATES DISTRICT COURT JON F1 2024 |

SOUTHERN DISTRICT OF NEW YORK fromm
US.D.C. -

Caton Cping LLC we
SDE. \MISCONGIAL AVE Sule! sD

(in the space above enier the full name(s) of the plaintiff(s)/petitioner(s).) 7 ‘ 9 | Civ. 0? 77 V

- against -

Sone (RiFFi +c

—_1LSt K PVG
olay Verna NY [D550

(in the space above enter the full name(s) af the defendant(s)/respondent{s).)

 

 

 

 

ANSWER

 

 

I
ADMISSIONS AND DENIALS

In this section, state which factual allegations in the complaint you admit to and which factual allegations you deny.

 

You should refer to the complaint paragraph by paragraph (and sentence by sentence within each paragraph), in the
same order as the paragraphs and sentences appear inthe complaint. Attach additional sheets of papers as necessary.

1 Deny Allegations in. Complaint Pelve
wae arya. (Lrikeung ors Q Victim of

 

 

2.
3 Queer Proud Ru O Griminial CN rPlse ,
4. She Locks Ore! Sone rere Wah On

 

s QnpnuMous Cau from Someone
6. alec dying Himself as John Andaccn

7 $NA iran Os Tihn _arker r Sey Qsitea

s IL 2he coula 9nd Bile of al ae

9, CO GOES. AQuer. she Said Les Could hay
10. ane was aked if She Krad onto.

Rey. 05/2007 1

 
0 “Case 7:21-¢v:02777-VB ‘Document 14 Filed 06/11/21 Page Zofe “7 oe

. p cOhate. Phooin. One: =e. “<Q! Jes oe

% Ae DAD vere SMALE PID PyOWLEY
“She coke Otkeol 10 Soure. ne Sellers
She neler Gontactea ANYON. ard
Never nod details phone. auerbeace ennai
24C.
She Loas Contacled -~ Gave ntormaheyt
sye nad yecearhned and told nas sne
oul rece a anew oto yer onouat
ONO Gwen OeLOiled Wsttuchon on haw +0
fo make ne DUNaegs. She_vwee Lold +o
Cok and use_lne Dlainkt¢ Ond to hae
Une Otto Qu LOLO_O wal le LACHES
~ Mok they vontles.
sahe_does not Ano ing plane
Wace iAvolved i. tne £y a Ad but aac +old
Conor oloink ft On use Onion
Lunal\lex NOck she Nad no Contret_over.
Her Peony etotement chia Lorde.
“Wareere into ner OCcaunk Dom (Dry,
O subsidiaru!_p? Bock ana Decker his
Wns ar 2vechatma— Wed she Lad
OrowOle 10-fbr maikas9- to. earlier

 
Case :7:21-cv-02777-VB “Document 14” Filed 06/11/21. Page Sof6 BO

Cue. represeakud io. nec “Wok Ne_
LOockeod Lor CUI). _

CN ry. WOLD POU, 0 Sumo har ank
cco VOM ahe unc +010 wis fac
Wwe depot Lor Purchase by Cory from

Ae Corgniis She _bod_prduded +0
(her uc Aye Lom Miscuy). .
hy har A dwe her OlOieo 1OStrucl one

oy) how 44 we the moreu to but “PoitCar7-

Sine. wont tolg +0 only ur hace e. Pitian-
Crom Ne Dlaintfe ond Naoal_to
Wanstrred ato aude Ar 4nd Wat
Nok 4Ver VoOlet Ona ever OEE ahe Nad
Mo Gene.

TTD Bek 40.0 Lorde onseh os
Onc war alle to see. nat ne. reciienk:

OL ne Wane -- Com. Cpa [ LOnich wre
cet to Soneo ic account). Las anor
erga Or enitaly.

er L206 ine Lorman Not Kony
40 Soyeg-intock She_Sil.cloes_ns4Anao
We Nome. of Me innoleg re enon t

 

 

 
_.Case 7:21-cv-02777-VB Document 14 Filed 06/11/21 Page 4 of 6 OE

“YD Bank Lroze Ne Aecounk ne
—Udves to Dont fis QQUMeN, Agent
were renerseo) Ook ine Bite
- “The. Lindl. for tné purlhare are
ain TD Panh - Plainkitt Should be
aiming Againet- “TD Bank Lpr freezing
dpe. acesunke ondl_aganhct TD eonk
Lor Oroe2ing tne Otcounke And Not.
allows 109 Lye (nyaents LO go ncn.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Case 7:21-cv-02777-VB Document 14 Filed 06/11/21 Page 5 of 6

il
DEFENSES

In this section, state any legal theories that, even assuming that what plaintiff has alleged in the complaint is true,

do not permit the plaintiff lo win the case. Attach additional sheets of paper as necessary.

FIRST DEFENSE;

 

SECOND DEFENSE:

 

THIRD DEFENSE:

 

WHEREFORE defendant asks this Court to dismiss the complaint and enter judgment in
favor of defendant.

[if you have any counterclaim against the plaintiff that arises out of the same events or
transactions stated in the complaint, and/or any crossclaims against the other defendants that arise
out of the same events or transactions stated in this complaint, and/or any third-party claims you
have against third-parties (that is, someone not already named in the lawsuit) that arise out of the
same events or transactions stated in the complaint, you should attach additional sheets of paper
to set forth the facts and bases for any such claims, See the Pro Se Manual for a further
explanation. ]

I declare under penalty of perjury that the foregoing is true and correct.
—TF
Signed this \\ day of QUIN __, 209|

Signature of Defendant

  
 

Address

 

Telephone Number VWs 2 “04 G De DY Bd YO

Fax Number (if you have one)

 

Rev, 05/2007 2
Case 7:21-cv-02777-VB Document 14 Filed 06/11/21 Page 6 of 6

LAT

ECEIVE|T\\
UNITED STATES DISTRICT COURT LUN ET 2024 |
SOUTHERN DISTRICT OF NEW YORK |

CH Won Cans LLe

 

 

U.S.D.C,
W.P.

 

 

 

(In the space above enter the full name(s) of the plaintiffts)/petitioner(s).)

TiAl cv.00777 V_5
- against -

, NOTICE OF APPEARANCE -
Since Sol ype
LST Dark AVANL.

Maur Yer nim, hl OSSO

(in the space above enter the full name(s) of the defendani{s)/respondent(s)_)

Please take notice that I, _Gneg (4 LL VIC , a defendant in

(name)

this action, hereby appear pro se and that all future correspondence and papers in connection with
this action are to be directed to me at the address indicated below

Dated: LA/h l le Dhow Al

town/city) (state)

Li,» Af

  

  
 

Signature a

L571 Ser Ave,

Addyess ‘

Mount nb) ey Yo 15 cd

City, State & Zip Code

GY bob. ecypplil \ UE IES £078 cell

Telephone Number

 

Fax Number (if you have one)

Rev. 05/2007

 
